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                            UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


                                                            MDL No. 2867
IN RE: LOCAL TV ADVERTISING                                 No. 18 C 6785
ANTITRUST LITIGATION                                        This Document Relates to All Cases

                                                            Hon. Virginia M. Kendall



DEFENDANT SINCLAIR BROADCAST GROUP, INC.’S CORPORATE DISCLOSURE
         STATEMENT AND NOTIFICATION AS TO AFFILIATES

       Pursuant to Federal Rule of Civil Procedure 7.1 and Local Rule 3.2, Defendant Sinclair

Broadcast Group, Inc. states that it is a publicly held corporation, it has no parent corporation,

and no publicly held company owns more than five percent of Sinclair Broadcast Group, Inc.



Dated: November 12, 2018                            Respectfully submitted,

                                                    /s/ Jerome S. Fortinsky
                                                    Jerome S. Fortinsky (pro hac vice pending)
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                                                     Suite 800
                                                     Washington, DC 20004

                                                     Attorneys for Defendant Sinclair Broadcast
                                                     Group, Inc.
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                                CERTIFICATE OF SERVICE

       I, Jerome S. Fortinsky, certify that on November 12, 2018, I caused the foregoing

Defendant Sinclair Broadcast Group, Inc.’s Corporate Disclosure Statement and Notification as

to Affiliates to be served on all counsel of record listed via the Court’s ECF system.




                                                                           /s/ Jerome S. Fortinsky
